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           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MONTANA
                   GREAT FALLS DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                 Cause No. CR 21-25-GF-BMM

vs.
                                          ORDER GRANTING
KHALIL LAJUAN LYONS,                   UNOPPOSED MOTION FOR
                                           DEFENDANT AND
             Defendant.                WITNESSES TO APPEAR BY
                                               ZOOM

      The Defendant, Khalil Lajuan Lyons, moved this Court for an

order allowing him to appear by Zoom for his sentencing on October 28,

2021 at 10:00a.m. MST. He also sought leave for his sentencing

witnesses, Greg Penson, Deba Douglas, and Erika Shepherd Lyons, to

appear by Zoom. The Government did not object. For good cause

appearing, IT IS HEREBY ORDERED that the Motion is GRANTED.

Mr. Lyons' counsel will contact the Clerk of Court for the Zoom link and

relay that information to Mr. Lyons.

      DATED this 27th day of October, 2021.
